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                     BEFORE THE UNITED STATES JUDICIAL PANEL
                          ON MULTIDISTRICT LITIGATION


                                                      MDL No. 3010
IN RE: GOOGLE DIGITAL ADVERTISING
ANTITRUST LITIGATION
                                           ORAL ARGUMENT REQUESTED



This Document Relates To:


STATE OF TEXAS, et al.,

                            Plaintiffs,
                                            No. 1:21-cv-06841 (PKC) (S.D.N.Y.)
             - against -
                                             No. 4:20-cv-957 (SDJ) (E.D. Tex.)
GOOGLE LLC,

                            Defendant.



   RESPONSE OF DEFENDANT GOOGLE LLC IN OPPOSITION TO THE STATE
  PLAINTIFFS’ MOTION TO REMAND TO THE EASTERN DISTRICT OF TEXAS




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       Defendant Google LLC (“Google”) respectfully submits this brief in opposition to the State

Plaintiffs’ Motion for Remand to the Eastern District of Texas.

       The State Plaintiffs’ request for remand is based on a provision of the Consolidated

Appropriations Act of 2023 that President Biden signed into law months ago, on December 29,

2022. As enacted, this provision (“the Venue Act”) amended the multidistrict litigation (“MDL”)

statute to exempt states from centralization and transfer when they are plaintiffs in suits brought

under the antitrust laws. For two months after it was enacted, the States continued litigating in the

MDL: they served discovery requests and responses on behalf of all Plaintiffs, they actively

negotiated with Google on discovery issues and subsequent stipulations, and they even sought to

(again) amend their complaint. Then, on February 27, and without asking Judge Castel for a

suggestion of remand, they filed a remand motion with the Panel, asserting that the Venue Act

applies retroactively and had stripped Judge Castel of jurisdiction two months before. Both

assertions, in addition to being inconsistent with the State Plaintiffs’ active litigation in the months

after the Venue Act’s enactment, are also just wrong.

       First, the Venue Act does not apply retroactively. See Landgraf v. USI Film Prods., 511

U.S. 244 (1994). The Supreme Court has recognized that, although Congress is empowered to

enact retroactive legislation, retroactive statutes raise such “special concerns,” INS v. St. Cyr, 533

U.S. 289, 315 (2001), and that “congressional enactments . . . will not be construed to have

retroactive effect unless their language requires this result,” Bowen v. Georgetown Univ. Hosp.,

488 U.S. 204, 208, (1988) (emphasis added). Consequently, those “cases where [the] Court has

found truly ‘retroactive’ effect adequately authorized by a statute have involved statutory language

that was so clear that it could sustain only one interpretation.” Lindh v. Murphy, 521 U.S. 320,

328 n.4 (1997) (citation omitted). The Venue Act is not one of those statutes. Indeed, Congress




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considered and repeatedly rejected explicit statutory provisions that would have made the law

retroactive. See, e.g., 168 Cong. Rec. S10073 (daily ed. Dec. 22, 2022) (striking a provision of

the Venue Act that would have said “[t]he amendments made by subsection (a) shall apply to any

matter pending on, or filed on or after, the date of enactment of this Act”). Congress’s repeated

deletion of language that would have made the Venue Act apply retroactively strongly suggests

that Congress did not intend the Act to undo MDL transfers predating its enactment or to unwind

post-transfer MDL proceedings in which a judge has invested significant time and resources

addressing a state’s antitrust complaint. Moreover, the Venue Act differs from jurisdiction-

stripping statutes, where a provision removes the power of federal courts to hear a cause of action,

because the Act simply concerns whether certain claims can or should be moved from one federal

district court to another. Any supposed “jurisdictional” nature of the Act therefore does not make

up for the statute otherwise lacking an express retroactivity command.

       Second, the Panel should reject the State Plaintiffs’ fallback argument that the Panel should

remand as a matter of its discretion. Remand at this time would neither serve the convenience of

the parties and witnesses nor promote judicial efficiencies. Just the opposite: The reasons that

motivated the Panel’s initial decision to centralize the States’ action in the MDL remain just as

compelling today as they were then. There is “substantial overlap” between the States’ case and

the private plaintiffs’ cases, including with respect to “the alleged Google conduct, plaintiffs’

overlapping but different proposed relevant markets, and the involvement of third-party

discovery.” In re: Dig. Advert. Antitrust Litig., 555 F. Supp. 3d 1372, 1378-79 (J.P.M.L. 2021).

Moreover, Judge Castel has made significant progress in the 18 months since the Panel’s decision

to centralize and transfer these cases. He has established a structure for the efficient management

of these cases, he resolved Google’s motion to dismiss the States’ Third Amended Complaint and




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other pretrial disputes, and he continues to marshal coordinated discovery. Since the MDL was

established, Judge Castel has prioritized the States’ case, making that case the lead for the others.

If the States’ remand motion is successful, Judge Castel will be left with complex questions

including whether the motion-to-dismiss ruling on the States’ complaint remains law of the case

and applicable to the private plaintiffs or whether the Fed. R. Civ. P. 12(b)(6) process needs to

start over with private plaintiffs’ complaints.

       The Panel need not stick Judge Castel with this and other difficult questions. The law does

not require it. And the efficiencies counsel against it. The Panel should deny the motion.

                                         BACKGROUND

       A. The Panel Centralizes Google AdTech Antitrust Litigation Before Judge Castel

       In April 2021, Google came before the Panel requesting 19 actions across 16 districts be

centralized before one district court for pretrial purposes, see 28 U.S.C. § 1407, including an action

brought by the State Plaintiffs that was originally filed in the Eastern District of Texas. Google

explained that the actions each concerned the same conduct and thus presented common factual

questions, such that coordination would serve the convenience of the parties and witnesses and

promote the just and efficient conduct of the litigation. State Plaintiffs opposed transfer and

coordination in large part because of proposed legislation, which at that time included an express

retroactive effective date of June 1, 2021, that if passed would “requir[e] all state enforcement

actions centralized after that date to return to their original venues.” State Plaintiffs’ Opposition

to Google’s Motion to Transfer, In re Google Dig. Advert. Antitrust Litig., No. 3010 (J.P.M.L.

May 26, 2021), ECF No. 71 at 13. The Panel agreed with Google, holding that coordination of

the State Plaintiffs’ action with the private actions was “especially compelling here in light of the

substantial overlap in the alleged Google conduct, plaintiffs’ overlapping but different proposed




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relevant markets, and the involvement of third-party discovery.” In re: Dig. Advert. Antitrust

Litig., 555 F. Supp. 3d at 1378.

       The Panel determined each of those actions “present[ed] common factual questions

concerning the allegation that Google has monopolized or suppressed competition in online

display advertising services in violation of federal antitrust law, whether that market is described

singly as all display advertising services, as components of display advertising, or as some larger

spectrum of digital advertising.” Id. at 1375, 1377. Because of this “common factual core,” the

Panel concluded that centralizing the litigation would be more efficient. Id. at 1377. Discovery

in the State Plaintiffs’ action, “which is likely to be voluminous and complex, will overlap

substantially with the discovery in the other actions.” Id. at 1377-78. Substantive motions on key

issues also would overlap across the actions, and “consistency in judicial rulings on these and other

common issues will be important.” Id. at 1378. The Panel ultimately found that “[c]entralization

will promote the just and efficient conduct of the litigation by eliminating duplicative discovery

and avoiding the risk of inconsistent rulings on pretrial matters, particularly on discovery disputes,

Daubert issues, and dispositive motions,” because “[a]ll actions, whether brought as putative class

actions, individual actions, or governmental actions, will require common discovery from Google,

which is the principal and common defendant. Id. at 1375. Moreover, “centralization will enhance

the overall convenience of the parties, the witnesses, and the courts through coordinated

proceedings on both discovery and motions in this MDL.” Id. at 1378. In short, the Panel reasoned

that centralizing the litigation before Judge Castel would “maximize efficiencies.” Id. at 1376.

       B. Judge Castel Makes Substantial Progress Toward Resolving The Litigation Based
          On The State Plaintiffs’ Case

       The State Plaintiffs’ action has been at the core of the MDL structure since the beginning.

Indeed, in Pre-Trial Order No. 1, Judge Castel centered the MDL around the State Plaintiffs Third



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Amended Complaint, which he said would serve as the lead pleading in the MDL. See Pre-Trial

Order No. 1, In re Google Dig. Advert. Antitrust Litig., No. 1:21-md-03010 (S.D.N.Y. Aug. 13,

2021), ECF No. 4.1 Judge Castel would first address the State Plaintiffs’ federal antitrust claims,

before proceeding to address the private plaintiffs’ claims, and then all plaintiffs’ state law claims.

       After Google moved to dismiss the State Plaintiffs’ federal antitrust claims, Judge Castel

issued a 92-page opinion in which he partially granted and partially denied the motion. He

dismissed certain of State Plaintiffs’ claims and narrowed others. In re: Google Digit. Advert.

Antitrust Litig., No. 21-cv-6841, 2022 WL 4226932 (S.D.N.Y. Sept. 13, 2022). Judge Castel then

allowed the private plaintiffs to amend their complaints, encouraging that their amendments

conform to his motion-to-dismiss opinion; and he set a briefing schedule for Google to seek

dismissal of any “nonconforming” claims. See Pre-Trial Order No. 2, ECF No. 309. He also

directed Google and State Plaintiffs to negotiate the effect of the Opinion and Order on State

Plaintiffs’ state law claims. See Pre-Trial Order No. 4, ECF No. 392.

       To maximize the efficiency of discovery, Judge Castel ordered the establishment of a

Discovery Steering Committee that would include two representatives designated by the States,

which was more representation than any other plaintiff group received. See Pre-Trial Order No.

3, ECF No. 311. Judge Castel ordered Google to produce to all plaintiffs the documents it had

produced to the State of Texas in its pre-suit investigation, and he set discovery deadlines informed

by Google’s reproduction of those approximately 2 million documents to all other plaintiffs. See

Pre-Trial Order No. 5, ECF No. 394. He also ordered that each witness be deposed only once, that

all plaintiffs coordinate their discovery efforts, and that all discovery be shared across all MDL




1
 Unless otherwise indicated, all references to the docket are to Judge Castel’s MDL docket, No.
1:21-md-03010 (S.D.N.Y. Aug. 13, 2021).


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plaintiffs. Id. In other words, Judge Castel has imposed an efficient procedural framework on this

sprawling litigation, and the State Plaintiffs sit at the very heart of that framework.

       C. Congress Passes The Venue Act

       On December 29, 2022, President Biden signed into law a Consolidated Appropriations

Bill that includes the Venue Act. It amends 28 U.S.C. § 1407(g) to add the words “or a State” as

follows: “Nothing in this section shall apply to any action in which the United States or a State is

a complainant arising under the antitrust laws.” See Consolidated Appropriations Act, 2023, Pub.

L. No. 117-328, Div. gg, Title III, § 301, 136 Stat. 4459, 5970 (emphasis added). The Act as

passed did not include any retroactive effective date like the one on which State Plaintiffs relied

in opposing transfer to the MDL, Congress having since deleted that provision from prior versions

of the bill. Compare S. 1787, 117th Cong. (as introduced, May 24, 2022), and H.R. 3460, 117th

Cong. (as introduced May 21, 2022), with 168 Cong. Rec. S2945, S2935-36 (daily ed. June 14,

2022), and 168 Cong. Rec. H8252-53 (daily ed. Sept 29, 2022).

       D. The State Plaintiffs Press Ahead Before Judge Castel

       Over the nearly ninety days since the Venue Act passed, the parties have expended

considerable effort litigating State Plaintiffs’ case, on the assumption it would proceed in the MDL.

The State Plaintiffs’ have actively participated in the MDL’s discovery process during that period,

and in fact even served in a key role on the Discovery Steering Committee, which was tasked with

preparing discovery requests common to all plaintiffs. Plaintiffs, including State Plaintiffs, served

301 Requests for Production, and Google served Responses and Objections. And State Plaintiffs

took and continue to take a leading role in the negotiation of ESI and other discovery issues,

culminating in the entry of an order governing ESI discovery by Judge Castel on March 17, 2023.

See Order Governing Discovery Procedure, ECF 508.




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       Google and State Plaintiffs have continued to be in regular communication, without the

State Plaintiffs refusing to participate on the basis that they are no longer part of the MDL. Google

served Requests for Production and Interrogatories on all 17 State Plaintiffs on January 27, then

State Plaintiffs requested an extension of the time to respond through March 13. Google agreed

to that extension on the condition that State Plaintiffs respond robustly and substantively to the

discovery. Google served 50 subpoenas to agencies affiliated with the State Plaintiffs concerning

their use of ad tech, and Google has been actively negotiating subpoena compliance with those

state-affiliated agencies. State Plaintiffs and Google exchanged several drafts of a stipulation

concerning the effect of the Court’s September 13, 2022 Opinion and Order on State Plaintiffs’

state-law claims, with State Plaintiffs changing their position at the last-minute, necessitating

competing submissions to Judge Castel on February 24, 2023, ECF Nos. 475, 476.

       The State Plaintiffs also continue to seek to refine their claims before the MDL court. Just

weeks ago, on February 16, 2023, State Plaintiffs filed a pre-motion letter (per Judge Castel’s

procedures) seeking to amend their Third Amended Complaint. ECF No. 466. In response, the

court issued an order allowing State Plaintiffs to file their fourth amended complaint with a

deadline of May 5, 2023. ECF No. 495.

       On February 27, 2023, more than sixty days after the Venue Act became law, State

Plaintiffs filed a motion to remand with the Panel—without first seeking a suggestion of remand

from the Judge Castel despite this Panel’s stated “reluctan[ce]” to grant remand in this

circumstance. R.P.J.P.M.L 10.3(a) (“[T]he Panel is reluctant to order a remand absent the

suggestion of the transferee judge . . . .”). Notwithstanding their active engagement with the MDL,

State Plaintiffs argue the Venue Act had deprived the district court of authority over their action.




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                                       LEGAL STANDARD

       The Panel has discretion to remand a case that has been transferred “at or before the

conclusion of . . . pretrial proceedings.” 28 U.S.C. § 1407(a); see In re Wilson, 451 F.3d 161, 172

(3d Cir. 2006). Before exercising its discretion, the Panel will generally require, at least, a showing

that remand “will serve the convenience of the parties and witnesses and will promote the just and

efficient conduct of [the litigation],” In re Air Crash Disaster at Tenerife, 461 F. Supp. 671, 672

(J.P.M.L. 1978), or that “everything that remains to be done is case-specific,” In re Wilson, 451

F.3d at 173. The burden is on the party seeking remand to establish that remand is warranted. In

re Integrated Res., Inc. Real Est. Ltd. P’ship Sec. Litig., 851 F. Supp. 556, 562 (S.D.N.Y. 1994)

(citing In re Holiday Magic Sec. & Antitrust Litig., 433 F. Supp. 1125, 1126 (J.P.M.L. 1977)).

       When district courts are asked to suggest remand to the Panel, they determine remand is

appropriate when their “role in the case has ended.” In re Integrated Res., 851 F. Supp. at 562

(citation omitted). And where, as here, the district court has not suggested remand, the Panel is

“reluctant to order a remand.” See R.P.J.P.M.L. 10.3(a).

                                           ARGUMENT

  I.   The Venue Act Does Not Apply To The States’ Case.

       A. In repeatedly removing a retroactivity provision from the Venue Act, Congress
          clearly indicated that the Venue Act should not apply retroactively.

       In Landgraf, 511 U.S. 244, the Supreme Court set forth a two-part test for determining

whether a statute applies retroactively. At the first stage, a court must “determine whether

Congress has expressly prescribed the statute’s proper reach.” Id. at 280. If Congress has done

so, the inquiry ends, and the court enforces the statute as it is written. See id. If the statute is

ambiguous, the court proceeds to the second stage of the Landgraf test and “determine[s] whether

the new statute would have retroactive effect, i.e., whether it would impair rights a party possessed



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when he acted, increase a party’s liability for past conduct, or impose new duties with respect to

transactions already completed.” Id. If the statute, as applied, would have such an effect, it will

not be applied retroactively “absent clear congressional intent” to the contrary. Id.

       Although the State Plaintiffs fail to do so, the Panel must begin by taking the statute that

Congress enacted at face value. Whether a statute is substantive or procedural only becomes

relevant if it is unclear whether Congress has “prescribed the statute’s proper reach.” Id. This first

step of the Landgraf test, “determin[ing] whether Congress has expressly prescribed the statute’s

proper reach,” id., is “a demanding one,” see Kankamalage v. I.N.S., 335 F.3d 858, 862 (9th Cir.

2003). That is because “congressional enactments . . . will not be construed to have retroactive

effect unless their language requires this result.” St. Cyr, 533 U.S. at 315-316 (emphasis added)

(citation omitted) (alteration in original). “Requiring [such] clear intent assures that Congress

itself has affirmatively considered the potential unfairness of retroactive application and

determined that it is an acceptable price to pay for the countervailing benefits.” Landgraf, 511

U.S. at 272-273. Thus, “if Congress seeks to . . . reach[] back in time to upset settled expectations,

it must do so unequivocally and in a way that assures . . . that it has seriously considered the

consequences of such action.” Mathews v. Kidder, Peabody & Co., 161 F.3d 156, 170 (3d Cir.

1998). Where a statute lacks an unambiguous command authorizing retroactive application, a

statute is presumed to apply prospectively only. See Hughes Aircraft Co. v. United States ex rel.

Schumer, 520 U.S. 939, 946 (1997) (holding that law applies prospectively “unless Congress has

clearly manifested its intent to the contrary”).

       Here, the Venue Act lacks any of the language the Supreme Court has said could amount

to an express retroactivity command. In Landgraf, for example, the Court concluded that a

congressional statement that “all proceedings pending on or commenced after the date of




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enactment” amounted to an “explicit retroactivity command.” 511 U.S. at 255-256 & n.8

(emphasis added); see also, e.g., Martin v. Hadix, 527 U.S. 343, 354 (1999) (describing the

sentence, “ ‘[t]he new provisions shall apply to all proceedings pending on or commenced after

the date of enactment’ ” as “unambiguously address[ing] the temporal reach of the statute”

(quoting Landgraf, 511 U.S. at 260)). The Venue Act, by contrast, lacks a provision extending its

force to cases pending on the date of enactment.

       This is by design. Indeed, Congress repeatedly considered and removed such language in

drafting the statute. See Landgraf, 511 U.S. at 262-263 (examining legislative history to determine

congressional intent at the first stage of the Landgraf test). As initially introduced in both the

House and the Senate, the Venue Act included a provision that would have made the law

retroactive. The proposed bill included three sections: Section 1 named the bill; Section 2

amended 28 U.S.C. § 1407 by inserting the phrase “or a State” into § 1407(g) and by striking

§ 1407(h); and Section 3 provided that “[t]his Act and the amendments made by this Act, shall

take effect on June 1, 2021,” a date that was a year prior to the bill’s introduction. S. 1787, 117th

Cong. (as introduced, May 24, 2022) (emphasis added); H.R. 3460, 117th Cong. (as introduced

May 21, 2022). But in both chambers, after it was reported out of committee, the bill was revised

to strike Section 3 and remove the retroactive effective date. 168 Cong. Rec. S2945, S2935-36

(daily ed. June 14, 2022); 168 Cong. Rec. H8252-53 (daily ed. Sept 29, 2022). The bill’s originally

proposed language was thus changed to read, as follows:

       SECTION 1. Short Title.
              This Act may be cited as the “State Antitrust Enforcement Venue Act of
              2021”.
       SEC. 2. AMENDMENTS.
              Section 1407 of title 28 of the United States Code is amended—
                     (1) in subsection (g) by inserting “or a State” after “United States”,
                         and
                     (2) by striking subsection (h).



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       SEC. 3. EFFECTIVE DATE
              This Act and the amendments made by this Act, shall take effect on June 1,
              2021.

Comparing S. 1787, 117th Cong. (as introduced, May 24, 2022), with S. 1787, 117th Cong. (as

passed the Senate, June 14, 2022). The revised version of the bill, without the retroactive effective

date, was then passed by both houses. 168 Cong. Rec. S2935-36 (daily ed. June 14, 2022).

       After passing both the House and Senate, the Venue Act was incorporated into Congress’s

Consolidated Appropriations Act, where Congress once again considered, and once again rejected

a retroactivity provision. 168 Cong. Rec. S7328, S7752 (daily ed. Dec. 19, 2022). The version of

the venue bill that appeared in the Consolidated Appropriations Act included new language

regarding the “Applicability” of the bill, providing that “[t]he amendments made by subsection (a)

shall apply to any matter pending on, or filed on or after, the date of enactment of this Act.” Id.

at S7752 (emphasis added). This language had not previously appeared in any version of the bill.

But only a few days after its introduction, Senators Klobuchar and Lee, the original sponsors of

the Venue Act, proposed an amendment that struck the new “applicability” language. 168 Cong.

Rec. S10073 (daily ed. Dec. 22, 2022). Put differently, the amendment struck the language as

reflected below:

       SEC. 301. VENUE FOR STATE ANTITRUST ENFORCEMENT.
             Section 1407 of title 28, United State Code, is amended—
                    (a) (1) in subsection (g) by inserting “or a State” after “United
                            States”. . . .
                        (2) by striking subsection (h).
                    (b) APPLICABILITY.—The amendments made by subsection (a)
                        shall apply to any matter pending on, or filed on or after, the date
                        of enactment of this Act.

Comparing 168 Cong. Rec. S7752 (daily ed. Dec. 19, 2022), with 168 Cong. Rec. S10007 (daily

ed. Dec. 21, 2022).




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       As both Senators Klobuchar and Lee put it, the amendment “restore[s] the language that

passed in the Senate and passed in the House,” 168 Cong. Rec. S10073 (daily ed. Dec. 22, 2022)

(statement of Sen. Klobuchar); see also id. (statement of Sen. Lee). As at least one commenter

noted, the venue provision as included in H.R. 3843 was “no longer retroactive as in previous

drafts of the bill[.]” 168 Cong. Rec. H8173-74 (daily ed. Sept 28, 2022) (letter from U.S. Chamber

of Commerce included in the legislative record). The amendment passed, and both the Senate and

the House passed the Consolidated Appropriations Act of 2023, as amended. 168 Cong. Rec.

S10077 (daily ed. Dec. 22, 2022); 168 Cong. Rec. H10475, H10528 (daily ed. Dec. 23, 2022).

       Congress’s repeated deletion of language that would have made the Venue Act apply

retroactively strongly suggests that Congress did not intend the Act to apply retroactively. “As the

Court in Landgraf demonstrated, a court may determine congressional intent from the statutory

text, by necessary implication from the statute taken as a whole, or from the statute’s legislative

history.” Scheidemann v. INS, 83 F.3d 1517, 1521 (3d Cir. 1996). And “[f]ew principles of

statutory construction are more compelling than the proposition that Congress does not intend sub

silentio to enact statutory language that it has earlier discarded in favor of other language.” INS v.

Cardoza-Fonseca, 480 U.S. 421, 442-443 (1987) (citation omitted); see, e.g., Doe v. Chao, 540

U.S. 614, 622-623 (2004) (rejecting an interpretation of the Privacy Act that would allow presumed

damages when “Congress cut out the very language in the bill that would have authorized any

presumed damages”); Pac. Gas & Elec. Co. v. State Energy Res. Conservation & Dev. Comm’n,

461 U.S. 190, 220 (1983) (noting that it is “improper for us to give a reading to the Act that

Congress considered and rejected”); Gulf Oil Corp. v. Copp Paving Co., 419 U.S. 186, 200 (1974)

(deletion of provision in committee “strongly militates against a judgment that Congress intended

a result that it expressly declined to enact”). Congress could have made the effective date of the




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Venue Act a date prior to the statute’s enactment. Congress also could have provided that the

Venue Act should apply to pending cases as well as cases filed after its enactment. Congress

considered both, but did neither.2 Accordingly, the temporal reach of the statute is clear and the

Panel’s inquiry should end there.

       B. Even if the Venue Act were ambiguous, the Panel should still decline to apply the
          statute retroactively because the States’ case has already been transferred.

       Even if the Venue Act were unclear about its prospective application, the States’ argument

would still fail. When there is no clear evidence regarding whether Congress intended a statute to

apply retroactively, courts next ask whether retroactive application of the statute would have

“retroactive effects,” i.e., whether it would produce the kind of result that motivates the

presumption against retroactive application. See Landgraf, 511 U.S. at 265 (describing the

presumption against retroactivity as rooted in “[e]lementary considerations of fairness[, which]

dictate that individuals should have an opportunity to know what the law is and to conform their

conduct accordingly”). This second step of the Landgraf test has been described by some courts

as an inquiry into whether the statutory change affects substantive or procedural rights. See, e.g.,

Vernon v. Cassadaga Valley Cent. Sch. Dist., 49 F.3d 886, 890 (2d Cir. 1995) (“[A]pplying

Landgraf requires courts to determine whether a portion of a statute operates retroactively or

prospectively, and, in connection with that determination, to resolve whether the statutory

provision at issue is substantive or procedural.”); see also Landgraf, 511 U.S. at 275 (“Because

rules of procedure regulate secondary rather than primary conduct, the fact that a new procedural



2
  From a policy perspective, this was certainly a reasonable choice by Congress. Google is aware
of only two pending MDLs that include antitrust claims filed by state attorneys general (this case,
and In re: Generic Pharmaceuticals Pricing Antitrust Litigation, No. 16-md-2724 (E.D. Pa.
transferred Aug. 5, 2016)). Given the extensive efforts each MDL judge has put into their
respective coordinated proceedings, see, e.g., infra 17-20, Congress may have deleted the
retroactivity language and to avoid undoing all the work these two MDL courts had done thus far.


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rule was instituted after the conduct giving rise to the suit does not make application of the rule at

trial retroactive.”).

        The States seize upon the “procedural” label and argue that “a rule governing venue is a

paradigmatic procedural rule” and the Venue Act therefore “must apply to pending cases.” States’

Mem. at 4, 6. But, as Landgraf acknowledged, “the mere fact that a new rule is procedural does

not mean that it applies to every pending case.” 511 U.S. at 275 n.29. There is no categorical

“venue” exception from Landgraf’s presumption against retroactive application of legislation. See

Martin, 527 U.S. at 359 (“When determining whether a new statute operates retroactively, it is not

enough to attach a label (e.g., ‘procedural,’ ‘collateral’) to the statute; we must ask whether the

statute operates retroactively.”). Instead, even where a statute works purely procedural change,

the Landgraf Court instructed that a procedural change enacted while a case is pending does not

require undoing or invalidating steps taken before the enactment. See 511 U.S. at 275 n.29 (“A

new rule concerning the filing of complaints would not govern an action in which the complaint

had already been properly filed under the old regime, and the promulgation of a new rule of

evidence would not require an appellate remand for a new trial.”).

        As Justice Scalia explained in concurring with the majority on this point, “only such

relevant activity which occurs after the effective date of the statute is covered.” Id. at 291 (Scalia,

J., concurring in the judgments) (emphasis added). “A new rule of evidence governing expert

testimony, for example, is aimed at regulating the conduct of trial, and the event relevant to

retroactivity of the rule is introduction of the testimony. Even though it is a procedural rule, it

would unquestionably not be applied to testimony already taken—reversing a case on appeal, for

example, because the new rule had not been applied at a trial which antedated the statute.” Id. at

291-292 (Scalia, J., concurring in the judgments). Applying this reasoning a few years later in




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Martin v. Hadix, the Supreme Court held that a cap on fee reimbursements to attorneys litigating

prisoner lawsuits was impermissibly retroactive as to work already performed. 527 U.S. at 358-

360 (citing Landgraf, 511 U.S. at 275 n.29); see also, e.g., Wright v. Morris, 111 F.3d 414, 418

(6th Cir. 1997) (stating that “[f]ootnote 29 of the [Landgraf] Court’s opinion is controlling” and

holding that newly enacted exhaustion requirement did not apply to pending suits).

       To the extent that the Venue Act can be interpreted as creating a procedural rule, the

“relevant activity” governed by that rule has already occurred. The Venue Act alters the rules

governing the transfer of cases by the Panel. Google already moved for transfer of the States’ case

under that statute. And the Panel already granted that request. See In re: Dig. Advert. Antitrust

Litig., 555 F. Supp. 3d at 1379. The “commonsense, functional” analysis that Supreme Court

precedent demands points straight to the conclusion that the Venue Act cannot reach back and

undo that transfer. Martin, 527 U.S. at 357-358.

       C. The purportedly “jurisdictional” nature of the Venue Act does not overcome the
          clear indication in the drafting history that the Venue Act should not apply
          retroactively.

       The States argue in the alternative that “the Venue Act deprives the JPML of authority over

the case entirely.” States’ Mem. at 7. The States call this a “second, independent reason” for

retroactive application of the Venue Act, id., because when a statute only alters jurisdiction, the

ordinary presumption against retroactivity does not apply. “Present law normally governs in such

situations because jurisdictional statutes ‘speak to the power of the court rather than to the rights

or obligations of the parties.”’ Landgraf, 511 U.S. at 274 (quoting Republic Nat’l Bank of Miami

v. United States, 506 U.S. 80, 100 (1992) (Thomas, J., concurring)).            Consequently, “no

retroactivity problem arises” with respect to an intervening change in jurisdiction “because the

change in the law does not ‘impair rights a party possessed when he acted, increase a party’s




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liability for past conduct, or impose new duties with respect to transactions already completed.’ ”

Hamdan v. Rumsfeld, 548 U.S. 557, 577 (2006) (quoting Landgraf, 511 U.S. at 280).

       First, the Venue Act is not “directly analogous to changes in a jurisdictional statute that

strips a court of authority to hear a case.” States’ Mem. at 8. Jurisdictional statutes concern the

power of federal courts to hear a cause of action, see Landgraf, 511 U.S. at 274, not whether certain

claims filed by certain plaintiffs can or should be moved from one federal district court to another.

Nothing in the Venue Act’s addition of the three words “or a state” to 28 U.S.C. § 1407 can be

said to oust federal courts of jurisdiction in the way the statutes at issue did in Hallowell v.

Commons, 239 U.S. 506, 508 (1916), and Bruner v. United States, 343 U.S. 112, 116-17 (1952),

on which the State Plaintiffs rely. Rather, the Venue Act dictates how federal courts should

exercise their jurisdiction, instructing courts on when and how cases can be coordinated or

transferred. Thus, the Venue Act is neither “jurisdictional”—nor even “directly analogous to

changes in a jurisdictional statute,” States’ Mem. at 8—as that term is contemplated by Landgraf.

       Second, State Plaintiffs are wrong to say that all “jurisdictional” statutory amendments

apply retroactively. The fact that the Court has sometimes held that jurisdictional statutes can

apply retroactively “does not mean . . . that all jurisdiction-stripping provisions . . . must apply to

cases pending at the time of their enactment.” Hamdan, 548 U.S. at 577. “ ‘[N]ormal rules of

[statutory] construction’ . . . may dictate otherwise.” Id. (quoting Lindh, 521 U.S. at 326). In

Hamdan, for example, the Supreme Court considered whether the Detainee Treatment Act of 2005,

Pub. L. No. 109–148, 119 Stat. 2739, stripped the federal courts of jurisdiction over habeas corpus

actions filed by detainees and pending on the date the statute was enacted. 548 U.S. at 573. Earlier

versions of the bill had specifically made the habeas jurisdiction-stripping provision applicable to

pending actions, but that language had been deleted. The Court held the habeas jurisdiction-




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stripping provision inapplicable to pending cases not only because a neighboring subsection

expressly applied to pending cases, but also because Congress had “rejected earlier proposed

versions of the statute that would have included [the habeas provision] within the scope of that

directive [making certain provisions retroactive].”       Id. at 579.      The Court concluded that

“Congress’ rejection of the very language that would have achieved the result the Government

urges here weighs heavily against the Government’s interpretation.” Id. at 579-580. Similarly, in

this case, the fact that Congress rejected a provision of the Venue Act that would have allowed

retroactive application of the law to the States’ case weighs heavily against the States’ proposed

interpretation of the statute to achieve that result. See supra at 8-12.

 II.   The Panel Should Decline to Order Remand As A Matter of Discretion Where State
       Plaintiffs Offer No Arguments That Would Change The Panel’s Earlier Exercise of
       Discretion In Ordering Transfer.

       The State Plaintiffs’ one-paragraph argument for a “discretionary” remand, “in the interests

of judicial economy,” is meritless. A remand at this juncture would undo the efficiencies the Panel

sought to achieve by ordering coordination, and that Judge Castel has since worked to deploy.

       The Panel centralized State Plaintiffs’ action because it recognized the substantial overlap

with private plaintiffs’ actions, and in particular the “substantial overlap in the alleged Google

conduct, plaintiffs’ overlapping but different proposed relevant markets, and the involvement of

third-party discovery.” In re: Dig. Advert. Antitrust Litig., 555 F. Supp. 3d at 1378-79. The

“common factual core” across the actions meant that discovery across plaintiffs’ actions would

“overlap substantially” such that the Panel determined centralization would be most efficient. Id.

at 1377-78. Importantly, the Panel specifically considered “the risk of inconsistent rulings on

pretrial matters, particularly on discovery disputes, Daubert issues, and dispositive motions,” and

held that “informal coordination appears inadequate to address the risk of inconsistent rulings in

this factually and legally complex litigation.” Id. at 1376-77. In short, the Panel reasoned that


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centralizing the litigation before Judge Castel would “maximize efficiencies.” Id. at 1376. In the

nearly eighteen months since, Judge Castel has made great efforts to do just that.

       These realities are even more true today. Judge Castel has invested substantial time and

energy to become familiar with the factual and legal issues underpinning this litigation—and State

Plaintiffs’ claims in particular—over the last eighteen months; remand would unwind, or at least

destabilize, his tireless work. He established a structure for the efficient management of these

cases, he resolved Google’s motion to dismiss and other pretrial disputes, and he continues to

marshal coordinated discovery. Supra 4-6. And this has all been done with the State Plaintiffs’

action at the forefront, because State Plaintiffs’ complaint has served as the lead complaint to test

all plaintiffs’ federal antitrust claims, i.e. to test the common factual core of the MDL. Judge

Castel’s 92-page opinion grappled with State Plaintiffs’ complaint and dismissed or narrowed

some of their claims; Judge Castel then instructed private plaintiffs to amend their complaints

based on this ruling. If State Plaintiffs’ remand motion is successful on the basis that the State

Plaintiffs’ case was never properly part of the MDL, it will raise many complicated questions about

the viability of the court’s motion-to-dismiss rulings, about the effect remand will have on private

plaintiffs’ amendments that turn on the State Plaintiffs’ complaint, and about whether the Rule

12(b)(6) process needs to start over with private plaintiffs’ complaints. Remand will render great

uncertainty to the plaintiff actions left behind in the MDL.

       State Plaintiffs have also been at the center of discovery. They serve key roles on the

Discovery Steering Committee. They prepare discovery requests common to all plaintiffs, and

have drafted and served 301 Requests for Production on Google that they now contend they had

no intention of pursuing in the MDL. Judge Castel even planned the entire discovery process

based off when Google complied with his order to reproduce to non-State plaintiffs the documents




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it had already produced in Texas’s pre-suit investigation. If State Plaintiffs are removed from the

MDL, Judge Castel’s efforts to move discovery along will be for naught, because Google will at

minimum need to review (and potentially revise) its Responses and Objections in light of the

claims that remain, and the entire discovery structure will be affected. Indeed, if the cases proceed

separately, it could lead to parties and witnesses being subjected to duplicative discovery and

motions practice. Many of the same discovery disputes or procedural issues will arise in both

venues, given the common factual core, and courts might issue inconsistent pretrial rulings. And

the courts could render inconsistent substantive rulings, which then could give rise to circuit splits

on issues arising from Google’s very same conduct, far from an efficient result. In short, remand

would risk precisely what the Panel sought to avoid by creating the MDL. See supra 3-4.

       Not only would granting State Plaintiff’s motion be inefficient and prejudicial, but the

motion comes too late: More than sixty days elapsed after the Venue Act’s enactment before State

Plaintiffs moved to remand their action on the grounds that the Act had earlier destroyed the district

court’s MDL-authorization over their action. But State Plaintiffs’ ongoing and active participation

in the MDL since the Act’s enactment is hard to square with their subsequent litigation position.

They have actively engaged in discovery requests and responses on behalf of all plaintiffs in the

MDL, they have negotiated with Google on discovery issues and substantive stipulations, and they

have even sought to amend their complaint (for the fourth time) in Judge Castel’s court. Supra 6-

7. So if State Plaintiffs’ position in their motion for remand is to be believed, then it would mean

that for sixty days State Plaintiffs have engaged in extensive back and forth, with both Google and

Judge Castel, all while actually believing the court lacked authority to adjudicate their case. While

all of this litigation conduct by State Plaintiffs might explain why they did not opt to ask Judge

Castel to issue a suggestion of remand, it does not support their requested discretionary remand.




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The Panel’s stated “reluctan[ce]” to order remand without a suggestion of remand from the MDL

court should carry particular weight in these circumstances. See generally R.P.J.P.M.L 10.3(a)

(The Panel “is reluctant to order a remand absent the suggestion of the transferee judge.”). State

Plaintiffs’ decision to come straight to the Panel tellingly avoids giving Judge Castel an

opportunity to document the efforts he has put towards maximizing the efficiency of this sprawling

litigation, structured with the State Plaintiffs’ action at the center.

        At bottom, the Panel originally placed the MDL before Judge Castel because of its

“confiden[ce] that [Judge Castel] will steer [the] litigation on a prudent course” given his proven

“willingness and ability to manage . . . litigation efficiently.”3 Transfer Order, ECF No. 1 at 8.

Since that order, Judge Castel has acted consistent with the Panel’s prediction. Given his efforts

these last eighteen plus months, there is all the more reason the Panel should again find that

centralization of the State Plaintiffs’ action before Judge Castel will continue to “serve the

convenience of the parties and witnesses and promote the just and efficient conduct of the

litigation.” In re: Dig. Advert. Antitrust Litig., 555 F. Supp. 3d at 1375.



Dated: March 22, 2023                                     Respectfully submitted,

                                                            /s/ Eric Mahr

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  State Plaintiffs, in fact, were “certainly excited that the panel assigned the case to Judge Castel,”
to the point that they would even consider not asking to return to Texas for trial and instead
“request[ing] to try the case in the SDNY.” Bryan Koenig, State AGs’ Google Ad Suit Must Join
Private Ones in NY, Law360 (Aug. 10, 2021), available at https://tinyurl.com/y9zb4mbe.


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